                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE
                             AT GREENEVILLE


UNITED STATES OF AMERICA,                          )
              Plaintiff,                           )
v.                                                 )              No. 2:03-CR-74
                                                   )              Judge Greer
SHARON CAMPBELL,                                   )
                                                   )
                      Defendant.                   )


                       MEMORANDUM OPINION AND ORDER


              This matter is before the Court on the defendant’s motion for reduction of

sentence, [Doc. 476], pursuant to 18 U.S.C. § 3582(c), based on the 2007 amendment to the

Sentencing Guidelines which reduce the base offense level for crack cocaine offenses

(Amendment 706) and which was made retroactive effective March 3, 2008. See USSG §

1B1.10 (Revised Dec. 11, 2007). Under 18 U.S.C. § 3582(c)(2), a district court has

discretion to reduce the sentence of a defendant “who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the

Sentencing Commission . . . after considering the factors set forth in [18 U.S.C.] § 3553(a)

to the extent that they are applicable, if such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2). The 2007

amendment, effective November 1, 2007, generally reduced by two levels the offense level

applicable to crack cocaine offenses. The parties have filed a joint response to the

defendant’s motion [Doc. 483] and no hearing is requested by the defendant.



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                The defendant, upon her plea of guilty, was convicted of conspiracy to

distribute and possession with the intent to distribute 50 grams or more of cocaine base

(crack) in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A). Applying the 2003 version of

the Sentencing Guidelines, her base offense level was determined to be 36 (for offenses

involving at least 500 grams, but less than 1.5 kilograms of crack cocaine). The base offense

level was reduced by two levels because she met the criteria for the safety valve, USSG §

2D1.1(b)(6)1, and three additional levels pursuant to USSG § 3E1.1(a) and (b), resulting in

a total offense level of 31 and a criminal history category of I and a guideline range of

imprisonment of 108 to 135 months. The motion of the United States to depart downward

pursuant to USSG § 5K1.1 and 18 U.S.C. § 3553(e) was granted and the defendant was

sentenced, on June 7, 2004, to a term of 78 months imprisonment, the bottom of the

applicable guidelines range after a three level downward departure.

                The parties agree that Amendment 706 would reduce the advisory guidelines

range in defendant’s case and that the Court has the discretion to reduce her sentence

pursuant to 18 U.S.C. § 3582(c)(2). They also agree that the guidelines range under amended

USSG § 2D1.1 is 87 to 108 months2 and that USSG § 1B1.10(b)(2) limits the Court’s

discretion to reduce the defendant’s sentence below 63 months under the circumstances of



        1
            Although the defendant was subject to a mandatory minimum ten year sentence, the Court had
authority to impose a sentence without regard to the mandatory minimum.
        2
            The base offense level under the amendment is 34, less two levels for safety valve and three
levels for acceptance of responsibility under § 3E1.1, for a total offense level of 29 with a criminal history
category of 1.

                                                      2


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this case. Section 1B1.10(b)(2) limits a reduction in sentence where the original sentence,

as here, was less than the term of imprisonment provided by the guidelines range applicable

at the time of sentencing, to a sentence “comparably less than the amended guideline range.”

Therefore, a comparable reduction under the amended guideline

range would be a term of 63 months (approximately a 28 percent reduction below the 87

month minimum term of imprisonment provided by the amended guideline). USSG §

1B1.10(b)(2), App. Note 3.

               The defendant seeks a reduction to 63 months of imprisonment, the maximum

reduction authorized by § 1B1.10(b)(2). The United States leaves the extent of reduction,

if any, to the discretion of the Court but does not otherwise object to defendant’s motion.3

 In determining whether a reduction is appropriate and the extent of the appropriate

reduction, 18 U.S.C. § 3582(c)(2) requires the Court to consider the factors set forth in 18

U.S.C. § 3553(a). Section 1B1.10 further requires the Court consider public safety

considerations, i.e. “the nature and seriousness of the danger to any person or the community

that may be posed by a reduction in the defendant’s term of imprisonment . . .” USSG §

1B1.10, App. Note 1(B)(ii). Additionally, the Court “may consider post-sentencing conduct

of the defendant that occurred after imposition of the original term of imprisonment . . .”

USSG § 1B1.10, App. Note 1(B)(iii).

               The only reason appearing in the record for the Court’s original three level

       3
           The defendant has attached a chart to her “Emergency Motion To Expedite Ruling On Motion
Filed Pursuant To 18 U.S.C. § 3582(c) To Modify Sentence” which erroneously suggests that the
government has recommended a sentence of 63 months.

                                                 3


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departure from the otherwise applicable guidelines range was the defendant’s substantial

assistance to the government. In determining where within the resulting guidelines range to

sentence, i.e. 63 to 78 months, the Court was guided by an evaluation of the factors set forth

in 18 U.S.C. § 3553(a). Consideration of those factors leads this Court to impose a sentence

at the top of the range, that is, 78 months. A review of the same factors leave this Court to

the conclusion that a comparable reduction in the defendant’s sentence is now appropriate,4

unless there are public safety considerations or post-sentencing conduct of the defendant

which makes such a sentence unreasonable. As noted in the “Memorandum Regarding

Retroactivity” from the U. S. probation office and the original presentence report, the

defendant has no prior convictions for violent crimes and no other public safety

considerations are apparent, nor were any called to the Court’s attention by the government.5

 The U.S. probation office was “unable to locate any information that would indicate the

defendant is a risk of danger to any person or the community.” Additionally, information

from the Bureau of Prisons establishes that the defendant has not been a disciplinary problem


        4
           As reflected in the “Revised Memorandum Regarding Retroactivity” received by the Court on
April 4, 2008, the defendant was admitted to BOP’s intensive drug treatment program on March 14, 2008,
and is scheduled for completion of the program in October, 2008. The Court is aware that this reduction
in sentence may make the defendant eligible for release from BOP custody before she completes the drug
program. While the Court considers both the drug program and halfway house placement important to
defendant’s success on supervised release, it would be unfair to the defendant and would defeat the
purpose of the guidelines amendment to deny her motion on these grounds. It is hoped however, that the
defendant will receive the maximum drug treatment and counseling available to her before release by
BOP.
        5
            The defendant does have prior state convictions for reckless driving and driving while
intoxicated. These offenses were committed, however, in 1976 and 1985 and, while these convictions do
raise public safety concerns, the age of these convictions significantly minimizes the danger of repeat
offenses.

                                                   4


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during her term of imprisonment.

              Therefore, it is ORDERED that the defendant’s motion pursuant to 18 U.S.C.

§ 3582(c), [Doc. 476] is GRANTED and the defendant’s sentence is reduced to 63 months

of imprisonment. It is further ORDERED that this order shall not take effect for ten (10)

days, day for day) from its entry. It is further ORDERED, except as provided herein, that

all other provisions of the Court’s judgment of June 16, 2004, shall remain in effect.

              ENTER


                                                       s/J. RONNIE GREER
                                                   UNITED STATES DISTRICT JUDGE




                                             5


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